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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK                             DOC#:     &f ~ 1           ~1
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  WAYNE BALIGA, derivatively on
  behalf of Link Motion Inc.,

                            Plaintiff,                    18 Civ. 11642       (VM)

         - against -                                     DECISION AND ORDER

  LINK MOTION INC.       (F/K/A NQ MOBILE
  INC. ) , et al. ,

                            Defendants.
  ---------------------------------- X
  VICTOR MARRERO, United States District Judge.

         Wayne     Baliga     ("Baliga")     brings         this    case         as       a

  shareholder derivative action on behalf of, and against, Link

  Motion Inc.      ( f / k/ a NQ Mobile Inc. )    ( "Link    Motion"        or        the

  "Company").      Baliga    alleges     that         defendants    Vincent           Shi

   ("Shi"), Jia Lian, and Xiao Yu (collectively, the "Individual

  Defendants" and, together with Link Motion, the "Defendants")

  are    unlawfully     divesting    Link    Motion's       assets,        including

  whole subsidiaries, by selling them without permission from

  shareholders.

         Shi now seeks to dismiss Baliga's suit and responds to

  an    order to    show cause why the           he    should not     be    held in

  contempt for violating an Order of this Court.                    (See 0kt. No.

  35.) For the reasons discussed below, Shi's motion is GRANTED

  in part and DENIED in part.




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                                      I .     BACKGROUND

  A. COMPANY BACKGROUND AND PRE-SUIT DISPUTES

          Link   Motion          is   a     Cayman       Islands     company   with     its

  principle headquarters in Beijing,                       China.     ( See "Complaint,"

  Dkt.    No.    1.)   1   It    develops,         licenses,       supports,   and    sells

  software and services focusing on smart car and smart ride

  businesses and associated technologies. The Company maintains

  a portfolio of legacy mobile and productivity applications.

          In 2011, Link Motion held its initial public offering on

  the New York Stock Exchange                      ("NYSE") ,      offering over seven

  million American Depository Shares                        ("ADS") . Over the years,

  Link Motion has continued to offer and issue ADS,                            such that

  the Company has nearly 100 million ADS outstanding to date.

  Baliga is a shareholder who holds ADS in Link Motion.

          According to Baliga, Company operations began to unravel

  in late 2017 after independent investigations and audits of

  the     Company      uncovered          Shi' s    potential       misconduct.      Shi,   a

  Chinese citizen,              has been a part of Link Motion since near

  its inception. He began serving as its Chief Operating Officer

  in October 2005 and became Chairman of the Board of Directors

   (the    "Board")        in    2014.      Shi        allegedly    fabricated    certain



        Except as otherwise noted, the factual background below derives
  from the Complaint and the facts there pleaded, which the Court accepts
  as true for the purposes of ruling on a motion to dismiss. See Ashcroft
  v. Iqbal, 556 U.S. 662, 678 (2009).

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  transactions       to    benefit    himself          to     the       detriment       of

  shareholders       and   refused   to       step    down        as   the    Board    and

  auditors attempted to investigate the matter.

        As    the     Company      fought           internally,          it    faltered

  externally.     In early 2018,       the Company failed to                   file    its

  required annual SEC Form 20-F as a foreign issuer. In November

  2018, the Finland office of the Company allegedly had to close

  because of the lack of support from Link Motion. According to

  Baliga, a Texas office faces similar prospects of closure. In

  December 2018, the NYSE began procedures to delist Link Motion

  from the exchange.        ( See Dkt. No. 2 4 'JI 2. )

        While the Company faltered,                 the    Indi victual       Defendants

  allegedly transferred assets away secretly.                          For example,     in

  October    2018,    the Company transferred two businesses                          to a

  third party without Board approval or notice.

  B. BALIGA BRINGS SUIT

        To stem the loss of assets, on December 13, 2018, Baliga

  initiated this       suit,   bringing claims              for    appointment        of a

  receiver (Count One); breach of fiduciary duties (Count Two);

  unjust enrichment        (Count Three); violation of Section l0(b)

  of the Exchange Act, 15 U.S.C. Section 78j                       ("Section l0(b)")

   (Count Four); violation of Section 20(a) of the Exchange Act,

  15 U.S.C. Section 78t (Count Five). Baliga delivered service

  of   process      upon   Defendants         via    Law     Debenture         Corporate

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  Services Inc.,            Link Motion's agent for service of process.

  (See Dkt. Nos. 16, 17, 18, 19.)

          In conjunction with the filing of the Complaint, which

  effectively          sought      (1)     preliminary          injunctive           relief     to

  restrain       the     trans fer       Link    Motion's        assets;       and     ( 2)    the

  appointment          of    a    receiver        over      Link       Motion     to     regain

  transferred          assets,         Baliga        simultaneously           moved      for     a

  temporary restraining order.                   ( See "TRO Motion," Dkt. No. 63) .

  On December 14, 2018, the Court issued a Temporary Restraining

  Order    (1)   preventing Link Motion from further transferring,

  liquidating,         or     dissipating         any      of   its     assets;        and     (2)

  directing the parties to confer and provide a joint update to

  the    Court    within         one     week    regarding       a     proposed        briefing

  schedule for Baliga' s               preliminary injunction request.                        (See

  "Temporary Restraining Order," Dkt. No. 7.)

          One week later, Baliga and Link Motion submitted a joint

  letter     offering            competing       briefing          schedules         regarding

  Baliga's        requests          for     a        preliminary         injunction            and

  appointment of a receiver.                    (_§ee "December 21 Joint Letter,"

  Dkt.    No.     20.)      The    Court        granted       Link     Motion's        proposed

  briefing       schedule,         directing          it   to    respond        to     Baliga's

  requests       by    January      21,    2019.       (See     Dkt.    No.     21.)    In     the

  meantime,      Link Motion consented to extending the Temporary

  Restraining Order until the Court ruled on the preliminary

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  injunction       request.        Attorneys        from      DLA    Piper         LLP   ("DLA

  Piper")    signed the joint letter as "Counsel for Defendant,

  Link Motion Inc."           (See December 21 Joint Letter at 2.)                       None

  of the     Individual       Defendants        signed the          December 21          Joint

  Letter or otherwise appeared.

         On January 21,         2019,     rather than filing               its brief in

  opposition to a preliminary injunction, Link Motion filed a

  proposed stipulation.             ( See "Proposed Stipulation," Dkt. No.

  22.)   In the      Proposed Stipulation,              Baliga agreed to extend

  Link Motion's time to answer the Complaint to February 20,

  2019, and Link Motion withdrew its opposition to preliminary

  injunctive        relief     and       the       appointment       of        a    receiver.

  Attorneys from DLA Piper signed this letter on behalf of Link

  Motion as well. The Court endorsed the Proposed Stipulation

  the next day.          (See Dkt. No. 23.)

         A   few     days     later,      Baliga       submitted          an       additional

  affidavit in support of the grant of of injunctive relief and

  appointment       of    a   receiver,        outlining       recent      developments.

   (See Dkt. No. 24.) Baliga explained that since he filed suit,

  the NYSE suspended trading of Link Motion ADS, the Company's

  independent        registered          public       accountant          resigned,        and

  employees        were     working      without       pay.     In    light         of   these

  developments, the Court issued a Preliminary Injunction Order

  and    appointed        Robert    W.    Seiden      as   Temporary           Receiver     on

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  February 1,      2019.      (See "Preliminary Injunction Order," Dkt.

  No. 26.)

         Link Motion never filed an answer or otherwise moved to

  dismiss the Complaint by the February 20, 2019 deadline. DLA

  Piper's    letter      dated      March     1,    2019,     might    explain     why.

  According to the firm,                even before Baliga filed suit,             Link

  Motion was already in arrears with its legal fees.                         ( See "DLA

  Piper March 1 Letter," Dkt. No.                  28.)   Nevertheless,      "at Link

  Motion's request," DLA Piper appeared "in order to protect

  Link Motion's immediate interest" in the litigation.                           (Id. at

  6.)   In the weeks that followed,                however,    Link Motion failed

  to    "cooperate       in       the     representation"        or     "respond      to

  inquiries" from DLA Piper.               (Id.) As a result, DLA Piper moved

  to    withdraw    as     Link    Motion's        counsel    with    Link   Motion's

  consent,   as evidenced by an email from Shi.                       (See id.    at 1,

  9.) The Court granted DLA Piper's request.                     ( See id. at 4.)

  C. CONTEMPT PROCEEDINGS AND MOTION TO DISMISS BRIEFING

         On March 14, 2019 Baliga requested that the Court order

  Shi to show cause why he should not be held in contempt.                          (See

  Dkt. Nos. 29, 30.) According to Baliga, Shi was not complying

  with the Preliminary Injunction Order or cooperating with the

  Temporary Receiver. The Court scheduled a show cause hearing

  for March 29, 2019.          (See Dkt. No. 33.)




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        Two   days     before     the    show        cause    hearing,      Shi   finally

  appeared in the action, moving to dismiss the Complaint for

  lack of jurisdiction and opposing the contempt proceedings on

  similar grounds.          (See "Motion to Dismiss," Dkt. No. 37.)

        Shi's core contention is that the Court has no personal

  jurisdiction over          him because             Baliga    failed    to    serve   him

  properly.     (See     id.      at    5,     8.)     Shi    argues     that     without

  jurisdiction, the Complaint must be dismissed as to him, and

  that the Court cannot hold him in contempt for violating the

  Preliminary Injunction Order. Shi also asserts that the Court

  lacks jurisdiction over Link Motion.                       (See id. at 17.)

        Partly given Shi's claim of the Court's lack of personal

  jurisdiction,        rather     than       proceed     before      this     Court,   Shi

  argues that the Court should dismiss based on the forum non

  conveniens doctrine.            In support,         Shi emphasizes Defendants'

  connections to Cayman Islands and China. He points out that

  the Company's assets are abroad and the Temporary Receiver is

  likewise pursuing legal action abroad.                        Shi argues that the

  Cayman Islands is the proper forum.                    (See id. at 15-16.)

        Shi partly challenges                the Complaint           on the merits       as

  well. Shi argues that Baliga has failed to state a claim under

  Section l0(b) because there are no allegations regarding "the

  purchase    or     sale    of    securities"          or    that    Shi     acted    with

  scienter.    (Id. at 8-9.)           Thus,       according to Shi, Counts Four

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  and Five, which are predicated upon a Section l0(b) violation,

  must be dismissed pursuant to Rule 12 (b) ( 6)                          of the       Federal

  Rules of Civil Procedure               ( "Rule 12 (b) ( 6) ") .

         Shi separately contests the Preliminary Injunction Order

  as    well,    in   three    different           ways.   First,        Shi     claims      the

  Company's purported consent to the appointment of a receiver

  through stipulation was invalid because Baliga presented no

  evidence that the Board consented to such action.                                  Next,   Shi

  argues that the Court did not make the necessary findings to

  appoint a receiver.          ( See id.       at 12-13.)          Finally,      Shi argues

  that    the    appointment        of   a   receiver      violates        a    Chinese      law

  requiring the Company's                Board to be Chinese citizens.                       (See

  id. at 14.)

         After hearing argument at the March 29,                          2019 show cause

  hearing       regarding     contempt        proceedings          for    Shi,       the   Court

  adjourned without resolving whether to hold Shi in contempt

  and    ordered Baliga        to    respond        to   Shi' s    Motion       to    Dismiss.

   (See 0kt.      Minute Entry for            3/29/2019.)         Baliga responded on

  April 26,      2019.   (See "Opposition," 0kt. No.                     51.)

         Baliga concedes that service was improper over Shi but

  requests       additional     time         for    service       and     permission         for

  alternative service under Rule 4 ( f) ( 3)                      of the Federal Rules




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  of   Civil    Procedure        ("Rule     4(f)(3)").       (See     id.    at    30.)   2


  Notwithstanding         the   lack of proper           service,    Baliga       argues

  that Shi has enough minimum contacts with New York for the

  Court to exercise personal jurisdiction over Shi.

          Baliga   also    defends    the       Court's    exercise     of personal

  jurisdiction over Link Motion under numerous theories. First,

  as a procedural matter, Baliga claims that Shi lacks standing

  to raise any arguments on Link Motion's behalf.                       (See id.      at

  7-8.)    Second,   Baliga argues that Link Motion forfeited any

  personal     jurisdiction defense by failing to respond to the

  Complaint by the February 20, 2019 deadline.                      (See id. at 10.)

  Third, Baliga relies on a forum selection clause between the

  Company and Deutsche Bank Trust Company Americas                          ("Deutsche

  Bank") in connection with the Company listing ADS on the NYSE.

   ( See id.   at 11.)     Finally,   Baliga argues that the Court has

  general and specific jurisdiction over Link Motion.                         (See id.

  at 11-17.)

          In   addition     to    defending        the     Court's     exercise       of

  personal jurisdiction over Shi, Baliga defends his choice of

  forum. Baliga argues that the public and private interests in




        The Opposition does not include page numbers. As such, the Court
  considers the Opposition's cover page as the first page, the subsequent
  table of contents as the second page, and so forth, and pincites to the
  Opposition follow that convention.

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  the   case     support    his     choice         of    forum,        and    no   adequate

   alternative forum exists.

         On the merits,       Baliga asserts              that    he      states a    claim

   under Section l0(b),         providing documentary evidence of his

   purchases of Link Motion securities from 2014 to 2018.                               (See

   id. at 24-25 (citing Dkt. No. 49-8) .)

         Baliga then defends            the    Preliminary Injunction Order.

   Baliga points out that Shi still has not                            responded to the

   various      submissions       filed       in        support        the     Preliminary

   Injunction     Order,    which       included         documentary         evidence    and

   various      affirmations.       Baliga         similarly        reemphasizes         the

   largely     uncontroverted       allegations            of    Shi' s      noncompliance

   with the Preliminary Injunction Order that he argues justify

   civil contempt.      Baliga also challenges Shi's assertion that

   DLA Piper acted without authority.

         Shi replied on May 22, 2019.                   (See "Reply," Dkt. No. 62.)

   Beyond supporting the points argued in the Motion to Dismiss,

   Shi defends his standing to raise arguments on behalf of Link

   Motion.

                                  II.     DISCUSSION

   A. PERSONAL JURISDICTION OVER SHI

         "The    lawful    exercise       of       personal       jurisdiction          by   a

   federal      court     requires       satisfaction             of      three     primary

   requirements." Licci ex rel. Licci v. Lebanese Canadian Bank,

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   SAL,   673    F.3d 50,       59        (2d Cir.      2012).     First,       the plaintiff

   must properly deliver service of process upon the defendant.

   See id.      Second,     the plaintiff must have a "statutory basis

   for    personal        jurisdiction            that    renders      such           service        of

   process      effective."          Id.     Third,      the     exercise         of     personal

   jurisdiction must comport with due process. See id. at 60.

          Baliga does not attempt to defend his service of process

   on Link Motion's agent as proper regarding Shi. Rather, Baliga

   effectively concedes that service was improper by requesting

   permission to serve Shi alternatively. The Court finds that

   Shi has not received proper service of process.

          Without proper service of process,                         the Court does not

   have personal jurisdiction over Shi, see id., and two results

   follow.      First,     the Court must dismiss                  the Complaint as                  to

   Shi.     Second,      the    Court        cannot      hold    Shi      in     contempt          for

   violating      the      Preliminary             Injunction       Order.            See,      ~,

   Comverse,      Inc.     v.   Am.       Telecomms. ,      Inc.    Chile,        No.        0 7 Ci v.

   11121,    2 0 0 9 WL    4 6 4 4 4 6,    at    * 2 n. 4 ( S. D. N. Y.        Feb.     2 4,    2 0 0 9)

   ("Without personal jurisdiction over [executives of defendant

   company],      this Court cannot hold them in contempt."                                    (citing

   New York State Nat'l Org.                    for Women v. Terry,             961 F.2d 390,

   400 (2d Cir. 1992), vacated on other grounds sub nom. Pearson

   v. Planned Parenthood Margaret Sanger Clinic (Manhattan), 507

   U.S.   901    (1993))).

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           Baliga cannot overcome the                   lack of proper service to

   avoid    either         result.       Al though     Baliga      is   correct       that       Shi

   almost certainly has the minimum contacts necessary with the

   United       States      and    the    forum    state      to    satisfy due        process

   concerns,     3    service       of    process       is   mandatory         for    personal

   jurisdiction.

           Despite         the     lack    of     personal         jurisdiction,           Baliga

   attempts to justify a finding of civil contempt by casting

   Shi as a non-party. According to Baliga, as long as Shi had

   actual notice of the Preliminary Injunction Order, the Court

   can find Shi in contempt even if he is no longer a party to

   the suit. Baliga relies exclusively on a pair of state court

   decisions for this argument.                      ( See Opposition at 2 6               (citing

   McCormick v. Axelrod, 466 N.Y.S.2d 279 (1983); Power Auth. v.

   Moeller, 395 N.Y.S.2d 497                 (App. Div. 3d Dep't 1977)) .)

           As    a preliminary matter,                 Baliga does       not    explain his

   choice       to    cite       only    state    cases      discussing       state        law    in

   support       of        his    argument.        Because         contempt         proceedings

   implicate         the     "vindication         of   the    authority        of    the    court

                 [ T] he rule of          [Erie Railroad Co.            v.    Tompkins,          304


         Indeed, Shi does not seriously contest personal jurisdiction on
   minimum contacts grounds in the Motion to Dismiss beyond a single
   conclusory sentence ( see Motion to Dismiss at 12) and courts routinely
   exercise  personal   jurisdiction  in  securities  cases   over  foreign
   executives that are alleged to have "exercised control over or signed
   fraudulent SEC statements." Das v. Rio Tinto PLC, 332 F. Supp. 3d 78 6,
   801 (S.D.N.Y. 2018); see also In re Banco Bradesco S.A. Sec. Litig., 277
   F. Supp. 3d 600, 643 (S.D.N.Y. 2017).

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   U.S. 64, 58 (1938)] does not apply[.]" New York ex rel. Abrams

   v. Terry,      45 F.3d 17, 23-24          (2d Cir. 1995). That is, federal

   law, not state law, applies.

          Under             applicable             federal          law,           alleged

   contemnors           including non-parties -- must receive proper

   service of process before contempt proceedings can begin. See

   Rule   83. 6   of    the       Local    Civil   Rules     of   the     United    States

   District Courts for the Southern and Eastern Districts of New

   York   ("Where the alleged contemnor [has not appeared]

   service shall be made personally,                      together with a          copy of

   this Local Civil Rule 83.6, in the manner provided for by the

   Federal     Rules        of    Civil    Procedure       for    the     service    of    a

   summons."); First City, Texas Houston, N.A. v. Rafidain Bank,

   281 F.3d 48,        55    (2d Cir. 2002)         (requiring proper service of

   subpoena in order to hold alleged contemnor in contempt for

   violating subpoena); Soundkillers LLC v. Young Money Entm't,

   LLC, No. 14 Civ. 7980, 2016 WL 4990257, at *4                          (S.D.N.Y. Aug.

   2, 2016), report and recommendation adopted, 2016 WL 4926198

   (S.D.N.Y.      Sept.     15,    2016)    ("Thus,   the directors or officers

   of a corporation which is a party to an action may be held

   personally in contempt for                      noncompliance with a subpoena

   or court order                     provided that these individuals have

   been   served with            process    and    that    the    Court    has   personal

   jurisdiction over them."                 (internal     citation omitted));             see

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                                                              --------------------


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   also 9 Charles Alan Wright, Arthur R. Miller, & Mary Kay Kane,

   Federal Practice and Procedure              §   2960 (3d ed. 2019)           (in civil

   contempt        proceedings,      parties        "not   already       within         the

   jurisdiction of the court .                     must be served with process

   as in any other civil action")

           But even if New York state law applied, the same results

   follow. "Contempt proceedings may move forward upon a showing

   of actual notice,         but only as long as the court making the

   contempt finding already has personal jurisdiction over the

   defendant." United States v. Thompson, 921 F.3d 82, 87-88 (2d

   Cir.     2019)     (citing   People    v.       Mccowan,     629   N.Y.S.2d          163

   ( 1995)) .

           Accordingly,      the Court grants Shi' s Motion to Dismiss

   and dismisses the Complaint in its entirety as to Shi without

   prejudice.

   B. ALTERNATIVE SERVICE

           Baliga can rectify the dismissal of Shi in this case by

   properly serving him.            Because Shi       is   located in a          foreign

   country,        Federal   Rule   of   Civil      Procedure     4 ( f) ( 1)    permits

   Baliga to serve Shi "by any internationally agreed means of

   service that is reasonably calculated to give notice, such as

   those authorized by the Hague Convention." Fed.                        R.     Civ.    P.

   4 ( f) ( 1) .




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         Baliga has not even attempted to comply with the Hague

   Convention.       Rather,     he   seeks      permission       for    alternative

   service under Rule 4 (f) (3)            either "through email or via the

   Company's registered agent." (Opposition at 30.) Baliga notes

   that courts in this district have previously permitted such

   service in cases involving effecting service in China.                           (See

   id. at 30-31 (citing In GLG Life Tech Corp. Sec. Litig., 287

   F.R.D. 262    (S.D.N.Y. 2012)) .)

         As Shi points out,           whether to exercise discretion and

   grant alternative service requires courts to evaluate "(l) a

   showing    that     the     plaintiff      has    reasonably         attempted    to

   effectuate service on the defendant,                  and   (2)    a showing that

   the circumstances are such that the court's intervention is

   necessary." Wei Su v. Sotheby's, Inc., No. 17 Civ. 4577, 2018

   WL 4804675,    at *3        (S.D.N.Y.    Oct.    3,   2018).      Baliga does not

   address either of these requirements.

         The Court is mindful of Baliga's allegations and desire

   to move quickly. However, those reasons are no excuse to flout

   procedural rules, especially without support for his request.

   The plaintiff seeking alternative service in GLG Life Tech,

   for example, attempted to obtain the defendant's residential

   address   in China and submitted an affidavit                       regarding the

   difficulty and       delay of      service       of   process      in China.     287




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   F.R.D.      at 264,       266-68.    Baliga has made no such showing or

   attempt here.

          For      all      these     reasons,             the    Court     denies,      without

  prejudice,        Baliga's request for alternative service.                               Baliga

  may move again for permission for alternative service under

   Rule 4 ( f) ( 3)      upon a proper showing that such an al terna ti ve

   is required or warranted.

   C. FORUM NON CONVENIENS

          Under       the    forum     non       conveniens          doctrine,        the    Court

   "assesses the appropriateness of litigating the action in the

   plaintiff's choice of forum,                       as opposed to the alternative

   venue,      by balancing the private interests of the litigants

   and the public interest concerns of the court." Turedi v.

   Coca     Cola    Co.,      460   F. Supp. 2d              507,    521    (S.D.N.Y.       2006),

   aff' d, 343 Fed. App' x 623               (2d Cir. 2009)

          To    justify dismissal on forum non conveniens grounds,

   Shi    emphasizes         the    international                quality    of    this    action.

   Specifically,            Link Motion          is    a    Cayman     Islands     corporation

   that operates and has most of its assets in China, requiring

   the    Temporary          Receiver       to    proceed           simultaneously          in   the

   courts of those countries to discharge his duties.                                    But the

   international            quality    of    the           action    does   not    necessitate

   dismissal on forum non conveniens ground.                                Rather,      Shi must

   point to tangible public or private hardships that outweigh

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   Baliga's choice of forum, such as "the relative ease of access

   to sources of proof; availability of compulsory process for

   attendance of unwilling, and the cost of obtaining attendance

   of willing, witnesses .            . and all other practical problems

   that make trial of a case easy, expeditious and inexpensive."

   Aguinda v.     Texaco,     Inc.,   303 F.3d 470,     479     (2d Cir.       2002)

   (quoting Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 508 (1947)).

         Despite quoting that test, Shi references none of these

   considerations.      Nor does      he   explain why litigating in the

   Cayman    Islands    would    be   more      appropriate.     This   proposed

   alternative     is   particularly        unpersuasive       given    that     his

   concerns    about    the   alleged      China-centric      quality    of     this

   action would seemingly apply equally when litigating in the

   Cayman Islands.

         In contrast, Baliga explains in great detail the public

   and private interests supporting the New York forum.                    First,

   Baliga points out that the claims arise from Link Motion's

   listing of securities on the NYSE, implicating United States

   securities laws designed to protect United States investors.

   Moreover,    Baliga emphasizes that           securities and misconduct

   claims like his typically involve documentary evidence which

   are   easily   accessed      electronically.      Finally,     Baliga       notes

   that the Court must generally defer to his choice of forum.




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   See Iragorri v. United Techs. Corp., 274 F.3d 65, 71 (2d Cir.

   2001). Shi addresses none of these arguments in his Reply.

           Baliga    is    correct.     Given     the    resources      available        to

   Defendants, the type of evidence this case likely requires,

   and     the   interest        of   protecting     United      States    investors,

   especially in securities transactions involving the shares of

   foreign entities, the Court finds that the balance of public

   and     private        interests     in    this      action       counsel     against

   dismissal.       Therefore,        the    Court      denies    Shi's    Motion        to

   Dismiss on forum non conveniens grounds.

   D. SECTION 10 (B) CLAIM

           Rule 12(b) (6) provides for dismissal of a complaint for

   "failure to state a claim upon which relief can be granted."

   Fed. R. Civ. P. 12 (b) (6). "To survive a motion to dismiss, a

   complaint must contain sufficient factual matter, accepted as

   true,    to   'state a claim to relief that is plausible on its

   face."' Ashcroft v. Iqbal, 556 U.S.                  662,   678    (2009)    (quoting

   Bell Atl. Corp. v. Twombly,               550 U.S.     544,   570    (2007)). This

   standard is met "when the plaintiff pleads factual content

   that allows the court to draw the reasonable inference that

   the defendant is liable for the misconduct alleged." Id.                               A

   complaint should be dismissed if the plaintiff has not offered

   factual allegations sufficient to render the claims facially

   plausible.       See    id.    However,    a   court    should not          dismiss    a

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   complaint          for    failure       to     state     a     claim      if    the      factual

   allegations sufficiently "raise a right to relief above the

   speculative level." Twombly,                    550 U.S. at 555.

           Shi moves         to   dismiss        Counts    Four and          Five,    which are

   predicated upon a violation of Section l0(b).                                  An essential

   element       of    a    securities      claim under            Section        10 (b)    is    the

   purchase or sale of securities. S e e , ~ , Solow v. Citigroup,

   Inc.,    507       F.    App'x 81,      82     (2d Cir.      2013).       Shi argues that

   Baliga has failed to allege this element. Shi is correct.

           Although Baliga has now provided ample evidence in his

   Opposition and its associated exhibits that he did,                                     in fact,

   purchase or sell Link Motion ADS, he did not plead so in his

   Complaint.          Baliga        may    not     amend       his      Complaint          through

   briefing and exhibits. See, e.g., Kleinman v. Elan Corp., 706

   F.3d 145,          153    (2d Cir.      2013).       Thus,     the Court grants Shi's

   Motion to Dismiss with respect to Counts Four and Five without

   prejudice.          Further,      the Court grants Baliga leave to amend

   the Complaint to include the necessary allegations.

   E. VALIDITY OF THE PRELIMINARY INJUNCTION ORDER

           Beyond          arguing    for       dismissal         of   the     Complaint          and

   against finding him in contempt, Shi also attacks the validity

   of the    Preliminary Injunction Order,                         and specifically,              the

   Court's       appointment          of   the    Temporary        Receiver.         Shi     claims

   that    DLA    Piper       could not         consent      to    the    appointment            of   a

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   receiver        and      that     the     Court      has    not     made     the    necessary

   findings to justify the appointment of a receiver. Shi argues

   finally that the appointment of a non-Chinese citizen as a

   receiver violates Chinese law. In response, Baliga reiterates

   the posture of the case and difficulties facing Link Motion

   investors,          and     questions       Shi' s     standing         to   challenge      the

   Preliminary Injunction Order on behalf of Link Motion.                                       On

   Reply,    Shi asserts             that    he has       suffered an injury-in-fact

   sufficient          to     confer       standing      to    contest        the     Preliminary

   Injunction Order.

           Generally,          one     defendant         cannot        raise     arguments      on

   behalf of another.                See,    ~'         In GLG Life Tech Corp.                Sec.

   Litig.,       287     F.R.D.      262,    265     (S.D.N.Y.        2012).    Shi's injury-

   in-fact argument is in tension with his contention that the

   Court     has       no    personal       jurisdiction         over      him because        non-

   parties seeking to invoke standing to be heard on a matter

   generally        must       move     to     intervene         and       willingly      subject

   themselves to the Court's jurisdiction.

           Nevertheless, without deciding whether Shi is permitted

   to     raise        such     arguments,         the        Court    will     exercise       its

   discretion          to     consider       his   arguments          as   though      they   were

   raised by an amicus curiae.                       See id.      (considering arguments

   made     by     defendant           company        about       service       on      executive

   defendants as if they were made by an amicus curiae)

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           None      of     Shi's      arguments       against      the     Preliminary

   Injunction Order and appointment of the Temporary Receiver

   are persuasive.           Shi    focuses     on the behavior of DLA Piper,

   which represented Link Motion,                    apparently without pay,          from

   at least December 21, 2018 to March 1, 2019. Shi argues that

   Baliga presents no proof that the Board permitted DLA Piper

   to consent to the appointment of a receiver,                           and he claims

   that the Board,           in fact,      did not consent.         Shi also argues,

   without     citing any case law,              that Baliga needed to           submit

   proof of the Board's consent to DLA Piper's actions.

           Shi's focus on whether DLA Piper could or did consent to

   some action misses a critical detail: neither Link Motion nor

   Shi     ever      opposed     the    motion       leading   to   the     Preliminary

   Injunction Order. Baliga has submitted multiple declarations

   and other documents outlining the perilous situation of the

   Company which were -- and still are -- unrefuted. The Court

   clarifies that these submissions are sufficient to show that

   the appointment of the Temporary Receiver was necessary to

   protect against the "the imminent danger of the property being

   lost." United States Bank Nat' 1 Ass' n v.                       Nesbitt    Bellevue

   Prop.    LLC,      859   F.     Supp.   2d   602,    610    (S.D.N.Y.     2012).    For

   example,       Baliga has provided evidence that                  ( 1)   Link Motion

   has     transferred       substantial        assets    without     notice     to    the

   Board;     ( 2)    Link Motion has failed to make required filings

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   with the SEC;      (3)     employees have gone without pay;                  and    (4)

   Shi has fired employees and ordered documents removed. These

   behaviors are precisely the kind of actions that warrant the

   appointment of a receiver.             Indeed,         "perhaps one of the most

   frequent settings in which federal equity receivers have been

   employed in recent years is as an incident to a stockholder

   suit to prevent the impairment of corporate assets." 9 Charles

   Alan   Wright,    Arthur        R.   Miller,       &   Mary   Kay   Kane,     Federal

   Practice and Procedure§ 2983                 (3d ed. 2019).

          Lastly,   Shi      claims     that    appointment       of   the     Temporary

   Receiver violates Chinese law and threatens to destroy all

   remaining    value       of    Link Motion.        Shi    greatly      extends     this

   argument on Reply by asserting that the Court must conduct a

   conflicts of law analysis              to determine           if the    Preliminary

   Injunction Order comports with international principles of

   comity.    ( See Reply at 12.)

          "International comity comes into play only when there is

   a true conflict between American law and that of a foreign

   jurisdiction." In re Picard,                917 F.3d 85, 102 (2d Cir. 2019)

    (internal quotation marks omitted).                    "A true conflict exists

   if compliance with the regulatory laws of both countries would

   be   impossible."        Id.    ( internal       quotation marks        omitted)      A

   party's mere allegation of a conflict will not suffice; the

   record needs     to demonstrate             the    conflict     clearly.     See    id.

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   Thus,    when asserting issues of foreign law,                               parties should

   generally identify the foreign laws at issue,                                 submit expert

   opinions,      and provide translated primary source materials.

   See, e.g., Haywin Textile Prods. v. Int'l Fin. Inv. & Commerce

   Bank, Ltd., 137 F. Supp. 2d 431, 435 (S.D.N.Y. 2001).

           Shi provides no expert analysis                         on this        argument      and

   cites no Chinese laws. Instead, Shi relies exclusively on the

   Company's          prior     SEC          filings       describing           its     corporate

   structure.          These    filings           are     insufficient          to    raise     the

   prospect       of a    true        conflict,          and the    Court       finds    no   such

   conflict       based        on      Shi's      submissions.         For       example,       Shi

   emphasizes          language        from       the    Company's        SEC     filings     that

   Chinese     law      prohibits           him    from     "providing          any   assistance

             to       foreign        investors"          but    neglects        to    quote     the

   remainder of the sentence.                     ( See Dkt. No.       60 at 6.)        The full

   sentence           states        " [a]     domestic          company      that       holds     a

   telecommunications value-added services operation license is

   prohibited from                          providing resources                       to foreign

   investors           that     conduct            value-added         telecommunications

   business illegally in China."                         (Id.   at 4   ( emphasis added) . )

   Given that Baliga alleges that Link Motion may no longer be

   a going concern at this point,                        it is not clear that it even

   conducts       a    "value-added            telecommunications               business"     such

   that this provision still applies.

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         In   sum,      the   Court    declines     to   vacate    the    Preliminary

   Injunction Order.

   F. PERSONAL JURISDICTION OVER LINK MOTION

         Apart from contesting the Court's personal jurisdiction

   over himself, Shi challenges the Court's exercise of personal

   jurisdiction over Link Motion as well.

         Again,      the      Court    doubts     whether    Shi    can    raise      such

   arguments on behalf of Link Motion. See United States Catholic

   Conference v.        Abortion Rights Mobilization,               Inc.,      487    U.S.

   72,   76-77       (1988)     (non-party        witness     contesting       a     civil

   contempt    finding        "has    no   legitimate       interest"     in   "raising

   matters"      such    as    "the     District    Court's     lack      of   personal

   jurisdiction" over a party).

         But, even if the Court were to consider such arguments,

   they are unavailing.             In the Motion to Dismiss,             Shi's entire

   substantive argument about the Court's lack of jurisdiction

   over Link Motion states only:

          [Tl his Court lacks jurisdiction over Shi because the
          securities claims fail to state a cause of action and
          the common law claims fail for lack of jurisdiction. For
          the    same  reasons,  this   Court   lack[s]   personal
          jurisdiction over Link Motion .

    (Motion to Dismiss at 17.)

          Critically,         Shi     premised    his    argument      regarding       the

   Court's lack of personal jurisdiction over him on the failure

   to receive proper service of process.                    However,      the argument


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   that Baliga wrongfully served Shi at Link Motion's agent for

   service cannot apply to Link Motion itself.                                    As    such,       this

   argument is unfounded and unavailing.

           Shi   attempts       to    salvage        his    argument          in       his    Reply,

   devoting      five   pages        to    argue     that    the   Court               lacked       both

   general and specific jurisdiction over Link Motion, and that

   Link Motion did not consent to personal jurisdiction. These

   new arguments are a substantial departure from the few lines

   Shi devoted in his Motion to Dismiss. As the Court explains

   in     Rule   II.D   of    its         Individual       Practices,             it    "will        not

   consider new matters raised in replies for the first time."

   See also Bertuglia v. City of New York, 839 F. Supp. 2d 703,

   737    (S.D.N.Y.     2012)    ("[A]rguments raised for the first time

   in reply should not be considered,                       because the plaintiff[]

   had no opportunity to respond to those new arguments.").

           Despite these hurdles, even if the Court were to consider

   Shi's arguments,          they would be unavailing. At this stage of

   the      proceedings,             the      Court         must      credit                 Baliga's

   uncontroverted        allegations          of     corporate       mismanagement                   and

   fraud that is harming United States investors such as himself.

   See,    e.g., MacDermid,           Inc. v.      Deiter,     702 F.3d 725,                  727    (2d

   Cir.     2012)     These     allegations          are    sufficient             to    establish

   personal jurisdiction and courts repeatedly exercise personal

   jurisdiction over public companies that target United States

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   investors in similar circumstances. S e e , ~ ' SEC v. Share£,

   924   F.    Supp.     2d   539,    547        (S.D.N.Y.    2013).   No     unique

   considerations exist here to support the Court's declining to

   exercise        jurisdiction.     Therefore,       the    Court   denies    Shi's

   Motion     to    Dismiss   Baliga' s     claims    against    Link Motion      on

   personal jurisdiction grounds.




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                                    III. ORDER

         Accordingly, for the reasons stated above it is hereby,

         ORDERED      that   the   motion      ( 0kt.     No.    35.)     of     Defendant

   Vincent Wenyong Shi         ("Shi")    to dismiss the complaint                      ( 0kt.

   No.   1)   of plaintiff Wayne Baliga               ("Baliga")        is GRANTED IN

   PART and DENIED IN PART.          Counts Four and Five are dismissed

   without prejudice. Shi is dismissed from the case for lack of

   personal jurisdiction without prejudice to Baliga's further

   endeavor to serve Shi properly. It is further

         ORDERED that Baliga is granted leave to file an amended

   complaint as to Counts Four and Five within two weeks of the

   date of entry of this Order. It is further

         ORDERED      that   the   request       of       Baliga    for    alternative

   service    under    Federal     Rule   of    Civil       Procedure          4 ( f) ( 3)   is

   denied without prejudice.



   SO ORDERED.

   Dated:       New York, New York
                11 June 2019



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                                                                VICTOR MARRERO
                                                                    U.S.D.J.




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